Case 2:21-cv-09946 Document 1-1 Filed 12/27/21 Pageilof7 Page ID #:9

Exhibit A
Case 2:21-cv-09946 Document 1-1 Filed 12/27/21 Page 2of7 Page ID #:10

 

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Case 2:21-cv-09946 Document 1-1 Filed 12/27/21 Page5of7 Page ID #:13

Exhibit B
Case 2:21-cv-09946 Document 1-1 Filed 12/27/21 Page6of7 Page ID #:14

 
Case 2:21-cv-09946 Document 1-1 Filed 12/27/21 Page 7of7 Page ID #:15

 
